Case 1:01-cv-12257-PBS Document 3512-7 Filed 12/27/06 Page 1 of 13




                   EXHIBIT 4
                                                            Case 1:01-cv-12257-PBS   Document
                                                                               CARRIER          3512-7
                                                                                       PRIVILEGED       FiledLOG
                                                                                                  DOCUMENTS   12/27/06 Page 2 of 13


Document Number Date             Stamp Number      Type         Description                        Author          Author Position        Addressee               Addressee Position   Copyee                Privileged
                                                                                                                                                                                                             Designation



AWP002-08330836     05/17/2001   ENE0003348 -      Letter       Response to April 17, 2001         Johnson, D.     HCFA Manager           Spruill, F.                                                        DP Deliberative
                                 ENE0003349                     request from the Health Care                       System Support                                                                            Process
                                                                Financing Administrator to
                                                                provide drug pricing information

AWP002-08400842     05/17/2001   ENE0003352 -      Letter       Response to April 17, 2001         Ackerman, P.    HCFA Director          Spruill, F.                                                        DP Deliberative
                                 ENE0003353                     request from the Health Care                       System Support                                                                            Process
                                                                Financing Administrator to
                                                                provide drug pricing information

AWP004-00570059     05/17/2001   ENE0007652 -      Letter       Response to April 17, 2001         Johnson, D.     HCFA Manager           Spruill, F.                                                        DP Deliberative
                                 ENE0007653                     request from the Health Care                       System Support                                                                            Process
                                                                Financing Administrator to
                                                                provide drug pricing information

AWP008-08040805     05/17/2001   ENCA0000778 -     Letter       Response to April 17, 2001         Johnson, D.     HCFA Manager           Spruill, F.                                                        DP Deliberative
                                 ENCA0000779                    request from the Health Care                       System Support                                                                            Process
                                                                Financing Administrator to
                                                                provide drug pricing information

AWP024-21632164     04/17/2001   CIGNA00008997 -   Memorandum   Report of Drug Pricing             Robinson, C.;   Director Provider      All Medicare                                 All Regional          DP Deliberative
                                 CIGNA00008998                  Information--ACTION                Silva, L.;      Billing and            Carriers; Durable                            Administrators; All   Process
                                                                                                                   Education Group,       Medical Equipment                            CCMOs, Plum, C.
                                                                                                                   Center for Health      Regional Carriers
                                                                                                                   Plans and Providers;   (DMERCs)
                                                                                                                   Acting Deputy
                                                                                                                   Director Medicare
                                                                                                                   Contractor
                                                                                                                   Management,
                                                                                                                   Center for
                                                                                                                   Beneficiary Services

AWP029-00470049     04/17/2001                     Memorandum   Report of Drug Pricing             Robinson, C.;                          All Medicare Carriers                        All Regional          DP Deliberative
                                                                Information -- ACTION              Silva, L.                                                                           Administrators; All   Process
                                                                                                                                                                                       CCMOs; Plum, C

AWP032-05720574     04/17/2001                     Memorandum   Report of Drug Pricing             Robinson, C.;   Director Provider      All Medicare                                 All Regional          DP Deliberative
                                                                Information--ACTION                Silva, L.       Billing and            Carriers; Durable                            Administrators; All   Process
                                                                                                                   Education Group,       Medical Equipment                            CCMOs, Plum, C.
                                                                                                                   Center for Health      Regional Carriers
                                                                                                                   Plans and Providers;   (DMERCs)
                                                                                                                   Acting Deputy
                                                                                                                   Director Medicare
                                                                                                                   Contractor
                                                                                                                   Management,
                                                                                                                   Center for
                                                                                                                   Beneficiary Services




February 10, 2005                                                                                                                                                                                                          -1-
                                                         Case 1:01-cv-12257-PBS   Document
                                                                            CARRIER          3512-7
                                                                                    PRIVILEGED       FiledLOG
                                                                                               DOCUMENTS   12/27/06 Page 3 of 13


Document Number Date             Stamp Number   Type         Description                      Author          Author Position        Addressee            Addressee Position           Copyee                         Privileged
                                                                                                                                                                                                                      Designation



AWP034-04450447     04/17/2001                  Memorandum   Report of Drug Pricing           Robinson, C.;   Director Provider      All Medicare                                      All Regional                   DP Deliberative
                                                             Information -- ACTION            Silva, L.       Billing and            Carriers; Durable                                 Administrators; All            Process
                                                                                                              Education Group;       Medical Equipment                                 CCMOs; Plum, C;
                                                                                                              Center for Health      Regional Carriers
                                                                                                              Plans and Providers    (DMERCs)

AWP034-04540455     05/16/2001                  Letter       Report of Drug Pricing           Stone, R.       Manager, Medicare      Spruill, F.;         Senior Technical             Carpenter, C.;Gammon,          DP Deliberative
                                                             Information--ACTION                              Pricing Unit           Stoogenke, M.        Coordinator, Jing Xing       S.; King, C.;Eiler, C;         Process
                                                                                                                                                          Technologies, Inc.; Senior   Spires, R.; Dart, J.; Horan,
                                                                                                                                                          Analyst, Division Supplier   H.; Douglas, B.
                                                                                                                                                          Claims Processing

AWP034-05220523     04/20/2001                  Email        Re: HCFA Drug request            Stone, R.                              Eiler, C.                                         McCarthy, T.; King, C.;        DP Deliberative
                                                                                                                                                                                       Golaszewski, J.; Eiler,C.;     Process
                                                                                                                                                                                       Douglas, B.; Brantley, V.

AWP034-05260528     04/17/2001                  Memorandum   Report of Drug Pricing           Robinson, C.;   Director, Provider     All Medicare                                      All Regional                   DP Deliberative
                                                             Information--ACTION              Silva, L.       Billing and            Carriers; Durable                                 Administrators; All            Process
                                                                                                              Education Group,       Medical Equipment                                 CCMOs; Plum, C
                                                                                                              Center for Health      Regional Carriers
                                                                                                              Plans and Providers;   (DMERCs)
                                                                                                              Acting Deputy
                                                                                                              Director, Medicare
                                                                                                              Contractor
                                                                                                              Management,
                                                                                                              Center for
                                                                                                              Beneficiary Services

AWP034-06900692     04/20/2001                  Email        Re: HCFA Drug request            King,C.                                Stone, R.                                         Brantley,V.; Eiler, C.;        DP Deliberative
                                                                                                                                                                                       Douglas,B.;                    Process
                                                                                                                                                                                       Golaszewski,J.; McCarthy,
                                                                                                                                                                                       T.

AWP034-06950697     04/20/2001                  Email        Re: HCFA Drug request            King, C.                               Stone, R.                                         Brantley,V.; Eiler,C.;         DP Deliberative
                                                                                                                                                                                       Douglas, B.; Golaszewski,      Process
                                                                                                                                                                                       J.; McCarthy, T.

AWP041-08770879     11/10/1999                  Letter       Uniform Drug Pricing Project -   Zachok, R.                             Brull, J.; Foley,                                 Reisman, P.; Slaten, R.        DP Deliberative
                                                             Action                                                                  W.;Lebron, G.;                                                                   Process
                                                                                                                                     Morre, P.;
                                                                                                                                     Schneider, J.;
                                                                                                                                     Wickis, W.

AWP041-10471049     04/14/2001                  Memorandum   Report of Drug Pricing           Robinson, C.;   Director Provider      All Medicare                                      All Regional                   DP Deliberative
                                                             Information--ACTION              Silva, L.       Billing and            Carriers; Durable                                 Administrators; All            Process
                                                                                                              Education Group,       Medical Equipement                                CCMOs; Plum, C.
                                                                                                              Center for Health




February 10, 2005                                                                                                                                                                                                                   -2-
                                                                Case 1:01-cv-12257-PBS   Document
                                                                                   CARRIER          3512-7
                                                                                           PRIVILEGED       FiledLOG
                                                                                                      DOCUMENTS   12/27/06 Page 4 of 13


Document Number Date             Stamp Number       Type             Description                            Author             Author Position        Addressee             Addressee Position   Copyee                      Privileged
                                                                                                                                                                                                                             Designation



                                                                                                                               Plans and Providers;
                                                                                                                               Acting Deputy
                                                                                                                               Director Medicare
                                                                                                                               Contractor
                                                                                                                               Management,
                                                                                                                               Center for
                                                                                                                               Beneficiary Services

AWP041-11011103     04/17/2001                      Memorandum       Report of Drug Pricing                 Robinson, C.;      Director Provider      All Medicare                               All Regional                DP Deliberative
                                                                     Information--ACTION                    Silva, L.          Billing and            Carriers; Durable                          Administrators, All         Process
                                                                                                                               Education Group,       Medical Equipment                          CCMOs, Plum, C.
                                                                                                                               Center for Health      Regional Carriers
                                                                                                                               Plans and Providers;   (DMERCs)
                                                                                                                               Acting Deputy
                                                                                                                               Director Medicare
                                                                                                                               Contractor
                                                                                                                               Management,
                                                                                                                               Center for
                                                                                                                               Beneficiary Services

AWP901-00050008     12/12/1996                      E-mail           E-mail messages Re: Vogel              Imgrund, Joseph;                          Pat Mckee, Pat;                            Moynihan, Eileen;           DP Deliberative
                                                                     Letter-Zeneca w/ attached              Muscalus, Robert                          Manning, Vicky;                            O'Connell, Brent            Process
                                                                     Medicare B News, issue No . 148                                                  Krushinsky, Mark;
                                                                     w/handwritten notations                                                          Wiieski, Terri

AWP901-00150016     01/22/1997                      E-mail           Re: Zoldex vs Lupron w/                Imgrund, Joseph;                           McKee, Pat; Smith,                        Schoener, Lynette; Bucek,   DP Deliberative
                                                    messages         handwritten notation                   Bucek, Patricia                           Cynthia; Imgrund,                          Patricia                    Process
                                                                                                                                                      Joseph; Lenker, Ed

AWP901-00170018     01/23/1997                      Various e-mail   Re: Zoldex vs. Lupron in reply to      McKee, Pat                                Osman, Anita                                                           DP Deliberative
                                                    messages         1/22/1997 letter                                                                                                                                        Process

AWP901-00210022     01/23/1997                      E-mail           Re: Vogel Letter - Zeneca - in         McKee, Pat                                Osman, Anita                                                           DP Deliberative
                                                    messages         reply to letter of 11/14/1996                                                                                                                           Process

AWP901-00250027     09/12/2000                      Letter           Letter to Member of Congress re:       DeParle,           Administrator          Member of Congress                                                     DP Deliberative
                                                                     HCFA carriers                          Nancy-Ann Min                                                                                                    Process

AWP901-01610169     04/23/1999   CIGNA-0000242300002429
                                                    Fee Schedule     Fee Schedule for Unlisted Drugs                                                                                                                         DP Deliberative
                                                                     1999 w/ handwritten notations                                                                                                                           Process

AWP901-01720172     08/20/2002                      E-mail message   Subj: Re: Summary of aranesp           Stone, John M.                            Neville, John B.      Legal.BCBSU/TBG                                  AC Attorney-Client,
                                                                     issue - attorney/client confidential                                                                                                                    DP Deliberative
                                                                     w/handwritten notation                                                                                                                                  Process




February 10, 2005                                                                                                                                                                                                                          -3-
                                                              Case 1:01-cv-12257-PBS   Document
                                                                                 CARRIER          3512-7
                                                                                         PRIVILEGED       FiledLOG
                                                                                                    DOCUMENTS   12/27/06 Page 5 of 13


Document Number Date             Stamp Number   Type              Description                       Author             Author Position   Addressee              Addressee Position   Copyee                   Privileged
                                                                                                                                                                                                              Designation



AWP901-01730173     08/20/2002                  Phone message     Message for John Neville from     S.E.                                 Neville, John                                                        DP Deliberative
                                                                  Anne Vickery on 8/20 w/                                                                                                                     Process, AC
                                                                  handwritten notes dated 8/21/02                                                                                                             Attorney-Client

AWP901-01910192     03/06/2003                  E-mail            Subject: Darbepoetin - Aranesp    Stone, John M.                       Neville, John B.; Legal/BCBSU/TBG           Cannaday, Jennifer,      DP Deliberative
                                                messages          - pricing                                                              Tohill, Lora A.,                            LEGAL/BCBSU/TBG,         Process, WP Work
                                                                                                                                         GOVMNT/BCBSU/TBG;                           Mitchell, John,          Product
                                                                                                                                         Kreeck, Boyd,                               GOVMNT/BCBSU/TBG
                                                                                                                                         GOVMNT/BCBSU/TBG

AWP901-02020204     XX/XX/XXXX                  Spreadsheet       Darbepoetin Alfa (Aranesp) -                                                                                                                DP Deliberative
                                                                  Epoetin Alfa Comparison                                                                                                                     Process

AWP901-02050208     04/15/2002                  E-mail            Re: Aranesp                       Hackathorn,                          Moore, Darrell                              Watson, Les, Price, P.   AC Attorney-Client
                                                                                                    Kathy; Payne,
                                                                                                    Carolyn, Wichtia
                                                                                                    Nephrology Group

AWP901-0209-0212 10/12/2002                     E-mail message    Coverage Determination for        Price, Patrick                       Stone, J.M.                                                          WP Work Product
                                                w/attached        pegfilgrastim (Neulasta)
                                                analysis

AWP901-02130222     05/18/1999                  Minutes           Steering Committee Conference                                          Sheridan, D. Dr.;                                                    DP Deliberative
                                                                  Call                                                                   Adamson, J., Dr.;                                                    Process
                                                                                                                                         Cox, E. Dr.;
                                                                                                                                         Satya-Murti, S. Dr.;
                                                                                                                                         Ramirez, J., Dr.;
                                                                                                                                         Staples, P., Dr.;
                                                                                                                                         Perez, D., Dr.;
                                                                                                                                         Oleck, A., Dr.;
                                                                                                                                         Lurvey, A.., Dr.;
                                                                                                                                         Krubsack, A., Dr.;
                                                                                                                                         Waldmann, G., Dr.;
                                                                                                                                         Alexander, J., Dr.;
                                                                                                                                         Marciniak, T., Dr.;
                                                                                                                                         Primack, A., Dr.;
                                                                                                                                         Feinberg, L., Dr.;
                                                                                                                                         Skinner, D., Scally,
                                                                                                                                         K; Geyer, L.;
                                                                                                                                         Olshan, S; Combs,
                                                                                                                                         M. & Hippler, S.

AWP901-02230225     06/23/1997                  Handwritten       Re: last steering committee       Dr. Price                            Priscilla                                                            DP Deliberative
                                                note              consensus concerning procrit                                                                                                                Process
                                                w/attachments




February 10, 2005                                                                                                                                                                                                           -4-
                                                              Case 1:01-cv-12257-PBS   Document
                                                                                 CARRIER          3512-7
                                                                                         PRIVILEGED       FiledLOG
                                                                                                    DOCUMENTS   12/27/06 Page 6 of 13


Document Number Date             Stamp Number   Type              Description                     Author              Author Position    Addressee             Addressee Position         Copyee                         Privileged
                                                                                                                                                                                                                         Designation



AWP901-02260228     XX/XX/XXXX                  SPREADSHEET       Darbepoetin Alfa (Aranesp) -                                                                                                                           WP Work Product
                                                                  Epoetin Alfa Comarison

AWP901-02290242     01/03/2002                  Rough Draft       Letter re: Desialylated         Price, Patrick,     Medicare Medical   Huetsch, Randy L.     Payer/Provider Relations   Stanard, Jacqui; Rhoads,       DP Deliberative
                                                                  erythropoieton                  M.D., FACS          Director                                 Manager, Amgen, Inc        Donna; Dennison, Jane;         Process
                                                                                                                                                                                          Sean; Biotch, Ortho

AWP901-02430255     07/19/2002                  Handwritten draft Re: Aranesp                                                                                                                                            DP Deliberative
                                                                                                                                                                                                                         Process

AWP901-02560256     XX/XX/XXXX                  Fax cover sheet   Re: Aranesp Article w/o         Price, Patrick                         Crews, Sean                                                                     DP Deliberative
                                                                  attachment                                                                                                                                             Process

AWP901-02570257     08/29/2002                  Fax Transaction    Report for 5 page fax (faxed                                                                                                                          DP Deliberative
                                                Report            document not attached)                                                                                                                                 Process

AWP901-02580304     XX/XX/XXXX                  Rough Draft       Re: Aranesp                                                                                                                                            DP Deliberative
                                                                                                                                                                                                                         Process

AWP901-03050305     04/09/2002                  E-mail message    Email message re Aranesp        Price, Patrick                         Price, L.; Niemann,                                                             DP Deliberative
                                                w/fax                                                                                    R.; Schneider, Mary                                                             Process
                                                tranxaction
                                                report dated
                                                4/15/02

AWP901-03060308     04/08/2002                  E-mail            Re: Aranesp                     Murff, Donna;       CMS/HHS            Ernest, Cathy;        BCBSNE                     Price, P; Stamp, Gigi;         DP Deliberative
                                                messages &                                        Niemann, Robert                        Timperley, Jenny                                 Mason, Angela; McGuirk,        Process
                                                Fax transaction                                                                                                                           Glenn; Richter, Henry;
                                                report dated                                                                                                                              Price, Lana; Radke, Susan
                                                4/15/02

AWP901-03090334     06/11/2002                  Correspondence    Correspondence to and from                                                                                                                             DP Deliberative
                                                file              Melanie Combs                                                                                                                                          Process

AWP901-03350341     06/11/2003                  Survey            Melanie Combs Data Survey       Price, P., Combs,                                                                       Zerbe, Annette; Gross, Bill;   DP Deliberative
                                                w/attachments                                     Melanie;                                                                                Berkey, Julie; Combs, M.;      Process
                                                Email                                                                                                                                     Murti, Satya S.; Lichter, V.
                                                messages re:
                                                Important -
                                                Survey re:
                                                Aranesp

AWP901-03420344     04/02/2002                  Email             DEI CAS/FEINBERG - subject:     Feinberg, Laurie    CMS HHS            Price, P.; Stanard,                              Zerbe, A.; Rhoads, D.;         DP Deliberative
                                                                  Aranasp                                                                J.; Feinberg, J.;                                Schneider, M.; Douglas, P.     Process
                                                                                                                                         Bryan, M.,
                                                                                                                                         Foster-Reily, N.;
                                                                                                                                         DeiCas, R.




February 10, 2005                                                                                                                                                                                                                      -5-
                                                               Case 1:01-cv-12257-PBS   Document
                                                                                  CARRIER          3512-7
                                                                                          PRIVILEGED       FiledLOG
                                                                                                     DOCUMENTS   12/27/06 Page 7 of 13


Document Number Date             Stamp Number   Type               Description                       Author           Author Position    Addressee               Addressee Position   Copyee                        Privileged
                                                                                                                                                                                                                    Designation



AWP901-03450354     04/01/2002                  Correspondence     Kay, Terry CMS - letters re       Patrick, P.      Medicare Medical   Kay, Terrence L.                             Combs, M.; Kang, Jeffery,     DP Deliberative
                                                file               Aranesp                                            Director                                                        MD; Stone, J., MD;            Process
                                                                                                                                                                                      Stanard, J.; Bryan, M.

AWP901-03640368     04/09/2002                  Email to and       Re: Aranesp                       Price, Patrick                      Murti, M.; Price, L.;                                                      DP Deliberative
                                                from Lana Price,                                                                         Niemann, R.;                                                               Process
                                                CMS                                                                                      Schneider, M.

AWP901-03700375     14/10/2002                  Correspondence     Email and correspondence re:      Price, P.                           Stone, J.;                                   Schneider, M.;                DP Deliberative
                                                File               Aranesp to and from Stanard,                                                                                                                     Process
                                                                   Jacqui R. O.

AWP901-03760398     10/21/2003                  Email              Confidential: Re-Review fo E CR   Price, P.                           Richter, H.                                  Nixon, I.; Zerbe. A.;         DP Deliberative
                                                                   2963--Change in Coding on                                                                                          Rhoads, D.; Burke, P.,        Process
                                                                   Medicare Claims for Aranesp                                                                                        Brown, Linda; Shelton,
                                                                   and EPO 2003                                                                                                       Ann; Caldwell, Sharil;
                                                                                                                                                                                      Moore, P.; Streets, Brad;
                                                                                                                                                                                      Feinberg, L.; Sheridan,
                                                                                                                                                                                      David; Stone, J.; Gross, B.

AWP901-03990414     10/21/2003                  Email              Subject: CONFIDENTIAL:            Stone, J.                           Price, P.                                    Richter, H.; Nixon, I.;       DP Deliberative
                                                                   Re-Review of E CR                                                                                                  Zerbe, A.; Rhoads, D.         Process
                                                                   2963-Change in Coding on
                                                                   Medicare Claims for Aranesp &
                                                                   EPO

AWP901-04150424     02/15/2001                  Draft              Draft Chronic Renal Failure                                                                                                                      DP Deliberative
                                                                   (handwritten)                                                                                                                                    Process

AWP901-04250466     10/09/2002                  Draft Policy       Medicare Part B -                                                                                                                                DP Deliberative
                                                                   KS/NE/W.MO-Synthetic                                                                                                                             Process
                                                                   Erythropoietin and Non Renal
                                                                   Failure

AWP901-04670542     09/25/2002                  Bibliography (     Jama Bibliography Sept. 25,                                                                                                                      DP Deliberative
                                                handwritten)       2002, Vol 288 #12 pgs 1499-1507                                                                                                                  Process

AWP901-05430563     10/21/2003                  Email              Correspondence file for Richte,   Price, P.                           Richter, H                                   Nixon, I.; Zerbe. A.;         DP Deliberative
                                                                   Henry, CMS - Subj:                                                                                                 Rhoads, D.; Burke, P.,        Process
                                                                   CONFIDENTIAL: Re-Review of E                                                                                       Brown, Linda; Shelton,
                                                                   CR 2963-Change in Coding on                                                                                        Ann; Caldwell, Sharil;
                                                                   Medicare Claims for Aranesp &                                                                                      Moore, P.; Streets, Brad;
                                                                   EPO

AWP901-05640566     06/02/1999                  Correspondence     Data Lauren Geyer -               Price, P.                           Geyer, L., HCFA                              Murti, Satya, S.              DP Deliberative
                                                                   Correspondence to and from                                                                                                                       Process
                                                                   Lauren Geyer re: Procrit




February 10, 2005                                                                                                                                                                                                                 -6-
                                                              Case 1:01-cv-12257-PBS   Document
                                                                                 CARRIER          3512-7
                                                                                         PRIVILEGED       FiledLOG
                                                                                                    DOCUMENTS   12/27/06 Page 8 of 13


Document Number Date             Stamp Number   Type              Description                       Author               Author Position        Addressee              Addressee Position        Copyee                     Privileged
                                                                                                                                                                                                                            Designation



AWP901-05670568     06/04/1999                  Email             Procrit - Reply                   Price, Patrick                              Geyer, L                                                                    DP Deliberative
                                                                                                                                                                                                                            Process

AWP901-05690569     02/04/1998                  Handwritten       Handwritten Note                                                                                                                                          DP Deliberative
                                                Note                                                                                                                                                                        Process

AWP901-05700570     XX/XX/1996                  Data Analysis     Data Analysis Of Number Of                                                                                                                                DP Deliberative
                                                                  Claims (July - December 1996                                                                                                                              Process
                                                                  Procrit)

AWP901-05710571     10/10/1997                  Handwritten       Handwritten Notes Re: Procrit                                                                                                                             DP Deliberative
                                                Notes                                                                                                                                                                       Process

AWP901-05720572     05/15/1998                  Email             Procrit/EPO                       Price, Patrick                              Mylinda, Wilhite;                                                           DP Deliberative
                                                                                                                                                Evans, Diana;                                                               Process
                                                                                                                                                Schnnnneider, Mary;
                                                                                                                                                Satya-Murti S.;
                                                                                                                                                Gable, Joan; Burke,
                                                                                                                                                Priscilla; Hainline,
                                                                                                                                                Barbara

AWP901-05730590     03/15/2001                  Email             Steering Committee Agenda -       Murti, Satya S.                             Haller, Marcia                                   Price, P.                  DP Deliberative
                                                w/attachment      March 2001 w/attached email &                                                                                                                             Process
                                                                  handwritten note re: Discussion
                                                                  Guide for LHRH

AWP901-05920592     05/20/1991                  Letter            Subj: Coverage of the Drug        Warren, Richard,     Associate Regional     Scott, W. Charles,     Vice President Medicare   Garner, Nick; Malinky,     DP Deliberative
                                                                  Filgrastim (Neupogen)             HHS                  Administrator,         BCBS of Florida        Part B                    Bob; Lord, Curtis; Lynn,   Process
                                                                  (handwritten notations).                               Division of Medicare                                                    Lydia; St. John

AWP901-05930593     05/17/1991                  Memorandum        Coverage of the Drug Filgrastim   Warren, Richard L.                                                 Director, Office of                                  DP Deliberative
                                                                  (Neupogen)                                                                                           Coverage Policy, BPD                                 Process

AWP902-03130319     05/01/2001                  Draft             Request for Information in        King, Colleen,       Government                                                                                         DP Deliberative
                                                                  Narrative Report MS Word          Healthnow; Eiler,    Benefits                                                                                           Process
                                                                  Format                            Cheryl, Anthem;      Administrator
                                                                                                    Douglass,
                                                                                                    Barbara, Cigna;
                                                                                                    Stone, Robin,
                                                                                                    Palmetto

AWP902-03200325     05/01/2001                  Draft             Request for Information in        King, Colleen,       Government                                                                                         DP Deliberative
                                                                  Narrative Report MS Word          Healthnow; Eiler,    Benefits                                                                                           Process
                                                                  Format                            Cheryl, Anthem;      Administrator
                                                                                                    Stone, Robin,
                                                                                                    Palmetto;
                                                                                                    Douglass,




February 10, 2005                                                                                                                                                                                                                         -7-
                                                              Case 1:01-cv-12257-PBS   Document
                                                                                 CARRIER          3512-7
                                                                                         PRIVILEGED       FiledLOG
                                                                                                    DOCUMENTS   12/27/06 Page 9 of 13


Document Number Date             Stamp Number   Type              Description                         Author           Author Position    Addressee            Addressee Position   Copyee             Privileged
                                                                                                                                                                                                       Designation



                                                                                                      Barbara, Cigna

AWP902-03260326     XX/XX/XXXX                  Email             Change Requests 1663                Kanof, Majorie   Medical Doctor                                               Regional Offices   DP Deliberative
                                                                                                                                                                                                       Process

AWP902-03840388     04/26/2002                  Fax with          Claims To Be Adjusted               Eiler, Cheryl,   Business Analyst   MacDonald, Cheryl                                            DP Deliberative
                                                Attachments                                           AdminaStar                                                                                       Process
                                                                                                      Federal

AWP902-04880488     06/17/1997                  Memo              CMD Steering Committee                                                                                                               DP Deliberative
                                                                  Conference Call Minutes (with                                                                                                        Process
                                                                  Notations)

AWP902-04890499     10/10/2000                  Report            External Infusion Pumps (Draft of                                                                                                    DP Deliberative
                                                                  HCPCS Codes, )                                                                                                                       Process

AWP902-05010504     07/16/1999                  Policy            Draft Oral Antiemitic Drugs                                                                                                          DP Deliberative
                                                                  (Replacement for Intravenous                                                                                                         Process
                                                                  Antiemetics) List

AWP902-05170522     01/31/2000                  Program           Draft Transmittal Re: New Oral      HCFA                                                                                             DP Deliberative
                                                Memorandum -      Anti-Cancer Drugs Approved for                                                                                                       Process
                                                Carriers          Use by Medicare

AWP902-05230527     07/26/1994                  Composite Draft   Medical Policy re Epoetin                                                                                                            DP Deliberative
                                                                                                                                                                                                       Process

AWP902-05300531     10/16/1997                  Fax               Region B Suggestions - Medical                                                                                                       DP Deliberative
                                                                  Policy Change - Erythropoietin -                                                                                                     Process
                                                                  Changes in Coverage and
                                                                  Documentation (Handwritten
                                                                  Notes)

AWP902-05320533     10/03/1997                  Fax with          Region A Medical Policy Change      Bach, Debra,     RN                 McNab, Janice,                                               DP Deliberative
                                                Attachment                                            DMERC Region A                      Region B;                                                    Process
                                                                                                                                          Mekkelson, Alice,
                                                                                                                                          Region B; Wilhelm,
                                                                                                                                          Pat, Region C;
                                                                                                                                          Rheinecker, Mary,
                                                                                                                                          Region D; Majors,
                                                                                                                                          Elizabeth,
                                                                                                                                          SADMERC

AWP902-05340534     09/11/1997                  Fax               Draft of Region A Medical Policy    UHC DMERC A                         Region C                                                     DP Deliberative
                                                                  Change of 09/10/1997 re                                                                                                              Process
                                                                  Eythropoietin




February 10, 2005                                                                                                                                                                                                    -8-
                                                          Case 1:01-cv-12257-PBS  Document
                                                                             CARRIER         3512-7
                                                                                     PRIVILEGED      FiledLOG
                                                                                                DOCUMENTS  12/27/06 Page 10 of 13


Document Number Date             Stamp Number   Type              Description                        Author              Author Position   Addressee              Addressee Position   Copyee                        Privileged
                                                                                                                                                                                                                     Designation



AWP902-05350540     10/22/1994                  Composite Draft   Medical Policy re Epoetin                                                                                                                          DP Deliberative
                                                                                                                                                                                                                     Process

AWP902-05410553     07/21/1993                  Email with        Medicare Contractor Regional                                                                                         JTW, TCF, DMS, GIB, DBV       DP Deliberative
                                                Attachments       Bulletin No. 93 - ?, Update on                                                                                                                     Process
                                                                  Epoetin (with Handwritten Notes)

AWP902-05540558     10/02/1996                  Survey with       Revision to National Policy for    HCFA/Medicare/ROG                                                                                               DP Deliberative
                                                Attachments       EPO (with Handwritten Notes)                                                                                                                       Process

AWP902-05590560     01/14/2004                  Draft             Epoetin and Darbepoetin - New                                                                                                                      DP Deliberative
                                                                  Codes (with Notations)                                                                                                                             Process

AWP902-05610565     06/27/2001                  Draft             Epoetin HCPCS Codes                                                                                                                                DP Deliberative
                                                                                                                                                                                                                     Process

AWP902-05660567     04/09/2002                  Email             EPO                                Oleck, Adrian,                        Warren, J, CMS;                             Collins, Nita; Brazell,       DP Deliberative
                                                                                                     Anthem                                Ballantine, L, HCFA;                        Nancy; Valdivieso, Grace;     Process
                                                                                                                                           Spalding, J, HCFA                           Hoover, Robert, Cigna;
                                                                                                                                                                                       Hughes, Paul, Tricenturion;
                                                                                                                                                                                       Majors, Elizabeth, PGBA;
                                                                                                                                                                                       Metzger, Paul, PGBA;
                                                                                                                                                                                       Nelson, Kenneth, PGBA;
                                                                                                                                                                                       Hutter, Jennifer, PGBA;
                                                                                                                                                                                       Bridges, Phyllis,
                                                                                                                                                                                       Tricenturion; Rheinecker,
                                                                                                                                                                                       Mary, Cigna; Walker,
                                                                                                                                                                                       Berta, PGBA; Souza,
                                                                                                                                                                                       Sharon, Tricenturion;
                                                                                                                                                                                       Craven, Charlene, PGBA

AWP902-05680569     04/09/2002                  Email             Re: EPO                            Hildt, Renee, CMS                     Oleck, Adrian,                                                            DP Deliberative
                                                                                                                                           Anthem; Spalding,                                                         Process
                                                                                                                                           Joanne, CMS;
                                                                                                                                           Warren, John, CMS;
                                                                                                                                           Ballantine, Lorrie,
                                                                                                                                           CMS

AWP902-05700571     04/09/2002                  Email             Re: EPO                            Warren, John,                         Oleck, Adrian,                                                            DP Deliberative
                                                                                                     CMS                                   Anthem; Spalding,                                                         Process
                                                                                                                                           Joanne, CMS;
                                                                                                                                           Ballantine, Lorrie,
                                                                                                                                           CMS




February 10, 2005                                                                                                                                                                                                                  -9-
                                                               Case 1:01-cv-12257-PBS  Document
                                                                                  CARRIER         3512-7
                                                                                          PRIVILEGED      FiledLOG
                                                                                                     DOCUMENTS  12/27/06 Page 11 of 13


Document Number Date             Stamp Number   Type               Description                        Author           Author Position   Addressee                 Addressee Position       Copyee   Privileged
                                                                                                                                                                                                     Designation



AWP902-05720573     04/25/2002                  Email              Re: EPO                            Oleck, Adrian,                     Collins, Nita; Brazell,                                     DP Deliberative
                                                                                                      Anthem                             Nancy; Valdivieso,                                          Process
                                                                                                                                         Grace; Hoover,
                                                                                                                                         Robert, Cigna;
                                                                                                                                         Hughes, Paul,
                                                                                                                                         Tricenturion; Majors,
                                                                                                                                         Elizabeth, PGBA;
                                                                                                                                         Metzger, Paul,
                                                                                                                                         PGBA; Nelson, K,
                                                                                                                                         PGBA; Hutter,
                                                                                                                                         Jennifer, PGBA;
                                                                                                                                         Bridges, Phyllis,
                                                                                                                                         Tricenturion;
                                                                                                                                         Rheinecker, Mary,
                                                                                                                                         Cigna; Walker,
                                                                                                                                         Berta, PGBA;
                                                                                                                                         Souza, Sharon,
                                                                                                                                         Tricenturion;
                                                                                                                                         Craven, Charlene,
                                                                                                                                         PGBA

AWP902-05740577     05/24/2002                  Draft Policy       Draft #5 Re: Epoetin HCPCS                                                                                                        DP Deliberative
                                                                   Codes                                                                                                                             Process

AWP902-05780582     07/26/1994                  Composite Draft    Medical Policy re: Epoetin                                                                                                        DP Deliberative
                                                                                                                                                                                                     Process

AWP902-05830588     10/22/1994                  Composite Draft    Medical Policy re Epoetin (with                                                                                                   DP Deliberative
                                                                   Handwritten Notes)                                                                                                                Process

AWP902-05890589     10/25/1999                  Draft Bullentin    Oral Anticancer Drugs Benefit -                                                                                                   DP Deliberative
                                                Article            New Drug                                                                                                                          Process

AWP902-05900591     01/19/1994                  Memo               Re: Oral Cancer Drugs              Oleck, Adrian,                     Arney, Steve,             DMERC Medical Director            DP Deliberative
                                                                   (Handwritten Notes)                AdminaStar                         Region V                                                    Process
                                                                                                      Federal

AWP902-05920592     XX/XX/XXXX                  Label              Potentially Privileged Materials                                                                                                  DP Deliberative
                                                                                                                                                                                                     Process

AWP902-05930597     01/13/1995                  Draft              Region C DMERC Composite                                                                                                          DP Deliberative
                                                                   Draft re External Infusion Pumps                                                                                                  Process

AWP902-05980609     01/16/1995                  Memo with          External Infusion Pump RMRP        Allen, Martina                     Archibald, Ann                                              DP Deliberative
                                                Attachments        Comment & Review Distibution                                                                                                      Process
                                                                   Action Item A-357-2 (with
                                                                   Handwritten Notes)




February 10, 2005                                                                                                                                                                                                  -10-
                                                          Case 1:01-cv-12257-PBS  Document
                                                                             CARRIER         3512-7
                                                                                     PRIVILEGED      FiledLOG
                                                                                                DOCUMENTS  12/27/06 Page 12 of 13


Document Number Date             Stamp Number   Type            Description                        Author              Author Position      Addressee              Addressee Position     Copyee                      Privileged
                                                                                                                                                                                                                      Designation



AWP902-06100614     01/13/1995                  Draft           Region C DMERC Composite                                                                                                                              DP Deliberative
                                                                Draft re Infusion Pump                                                                                                                                Process

AWP902-06150617     06/12/1995                  Memo            Comment - Infusion Pump Draft      Zone, Bob           Medical Doctor       DMERC Medical                                                             DP Deliberative
                                                                RMRP                                                                        Directors                                                                 Process

AWP902-06180625     11/18/1994                  Draft           DMERC Proposed Regional                                                                                                                               DP Deliberative
                                                                Medical Review Policy re                                                                                                                              Process
                                                                External Infusion Pumps(with
                                                                Handwritten Notes)

AWP902-06260637     12/18/2003                  Subpoena with   Inspection and Copying of          Hobart, Jeoffrey,   Issuing Officer      United Healthcare,     Custodian of Records                               DP Deliberative
                                                Attachments     Documents on Schedule A, Civil     Hobart, Holland &                        Medicare Part B                                                           Process
                                                                Case MDL No.: 1456, Case           Knight
                                                                Number: Civil Action No.
                                                                01-CV-12257PBS (D. Mass.)

AWP902-06380659     03/27/2003                  Subpoena with   In Re: Lupron Marketing and        Glauberman,         Attorney for         Empire Medicare                                                           DP Deliberative
                                                Attachments     Sales Practices Litigation; Case   Kelly, Jones Day    Defendant TAP        Services; Sobol,                                                          Process
                                                                Number MDL Docket No. 1430                             Pharmaceutical       Thomas, Hagens
                                                                Master File No. 01-CV-10881                            Products Inc.        Berman LLP;
                                                                                                                                            Kodroff, Jeffrey,
                                                                                                                                            Spector, Roseman
                                                                                                                                            & Kodroff; Cohen,
                                                                                                                                            Richard, Bemporad
                                                                                                                                            & Selinger;
                                                                                                                                            Hausfeld, Michael,
                                                                                                                                            Cohen, Milstein,
                                                                                                                                            Hausfeld & Toll;
                                                                                                                                            Hefter, Michael,
                                                                                                                                            Dewey Ballanting
                                                                                                                                            LLP; Saveri, Joseph,
                                                                                                                                            Lieff Cabraser
                                                                                                                                            Heimann & Bernstein

AWP902-06600666     01/02/2004                  Memo            Carrier Subpoenas Seeking          Walters, Gerald,    Director, Medicare   All Medicare                                  All RAs; All CCMOs;         AC Attorney-Client,
                                                                Documents Related to               CMS; Carson,        Contractor           Carriers and Durable                          Polise, Lou, CMM/MCMG;      DP Deliberative
                                                                Pharmaceutical Litigationq         Gregory, CMS        Management Group     Medical Equipment                             Hinson, Jeff, CMM/MCMG;     Process
                                                                                                                                            Regional Carriers                             Rinker, Verne,
                                                                                                                                                                                          CMM/MCMG; Walters,
                                                                                                                                                                                          Gerald, OFM; Bennett,
                                                                                                                                                                                          Carol, OGC; Barsky, Troy,
                                                                                                                                                                                          OGC; Connelly, William,
                                                                                                                                                                                          OGC; Polston, Mark, OGC

AWP902-06670673     02/02/1994                  Draft           EPO Conference (with                                                                                                                                  DP Deliberative
                                                                Handwritten Notes)                                                                                                                                    Process




February 10, 2005                                                                                                                                                                                                                   -11-
                                                          Case 1:01-cv-12257-PBS  Document
                                                                             CARRIER         3512-7
                                                                                     PRIVILEGED      FiledLOG
                                                                                                DOCUMENTS  12/27/06 Page 13 of 13


Document Number Date             Stamp Number   Type          Description                 Author             Author Position   Addressee           Addressee Position   Copyee   Privileged
                                                                                                                                                                                 Designation



AWP902-06740680     02/08/1994                  Memo with     Re: Unlabled EPO Use -      Mohs, Frank,                         TAC Ad Hoc                                        DP Deliberative
                                                Attachments   Proposed Draft Policy and   General American                     Committee on                                      Process
                                                              Conference Minutes          Life Insurance                       Unlabeled EPO Use
                                                                                          Comany




February 10, 2005                                                                                                                                                                              -12-
